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 1: How Charlottesville enabled                                                Cindy Yang to market Mar-a·
     BY SARAH BLAS KEY, NICHOLAS NEHAMAS.M-JD CAITLIN OSTROFF
     MARC..;29, 20 19 ,. s.::: /J.M. uP::>A-E::> MARCH 30. 2c·9 04 3·   PM




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                                                                                                             Venezuela's interim farst lady
                                                                                                             visits Florida, receives support'+
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  Mar-a-Lago has become a top destination for Trump tourism Experts say Mar a Lago in particular provides
  unpreceden ted levels of access by people to the pre, idenl. 01
                                                                                                             Daniella Levine Cava announces
     A group of newcomers dressed in black tie with leopard print accents - a dress code dubbed              K~¥i~Ui'tt>¥ 1 1?0Snty mayor
     "safari chic" - joined Palm Beach high society at Mar-a-Lago on Jan. 26, 2018.
                                                                                                                                     TRENDING STORIES

     Rather than the usua l American Cancer Society dinner, a crown jewel of the 2018 charity season         Feds are investigating possible
     ended up being a "Safari Night" held for a recently reopened youth-mentoring charity - a                Chinese spying at Mar-a-Lago and
     conseque nce of Mar-a-Lago losing half the season's planned events after President Donald Trump
                                                                                                             £~~~I2 r~~: p~~urces say
     said there were "very fine people on both sides" of a deadly white nationalist march in
     Charlottesville, Virginia, in mid-2017.
                                                                                                             Miami Dolphins will add most
     The gold-trimmed ballrooms were decorated with paper cutout lions and zebras for what was               talent this otfseason via source
     promised to be the "wildest ball of the year," hosted by Elizabeth Trump Grau, the president's
                                                                                                             other than NFL draft
                                                                                                             t   ;:i~ ~::a   2:::·9 c· 35 A.M
     older sister. The proceeds were to benefit the charity Young Adventurers.
                                                                                                             Ex-Canes star Mark Walton shot
     Working the door was a recent addition to the Mar-a-Lago scene: Li "Cindy" Yang, an Asian-              by police Taser, then arrested for
     themed day-spa magnate making a name fo r herself both in Florida Republican Party fundraising
                                                                                                             third time this year " ' • • • • • • • • • - .
     circles - and in her native China.                                                                      fO~c0l.2Q'9"2lAM                                 DEFENDANT'S
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                                                                                                                           for $8 million to 'Real World'
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  Li Yang, 45, posed with Donald Trump during the Super Bowl while rooting for the Patriots Two weeks late1, authorities
  would charge the team owner, llobert Kraft, with soliciting prostitution at a spa in Jupiter that Yang had founded.
  By



       Yang's invitations to Mar-a-LagrJ, Trump's private club and resort, started coming after high
       society's post-Charlottesville exodus. She helped promote the cobbled-together replacement
       galas, selling them online as opportunities for Chinese businessmen to gain face time with the
       Trump family.

       On Chinese social media, Safari Night became a "midnight carnival" of the American social and
       political elite and an important r.etworking opportunity for businessmen from overseas. Seats were
       marked up from the original $600 to $1,000 . The ads also offered VIP packages for overnight
       stays at Mar-a-Lago - $10,000 fo r two nights, with spa and golf course access, according to one
       post from a member of a local Asian-American political group.

       Dozens of people associated with her Asian-American political group turned out. Yang also
       recruited guests through her nonprofit group, Women's Charity Foundation Inc. One of the
       group's guests impressed the crowd by plunking down $40,000 for a pair of paintings, with the
       proceeds going to charity, according to a post on the foundation's WeChat page that was later
       removed.

       In addition to being the president's home in Florida, Mar-a -Lago boasts an ornate private club that
       bills itself as "the world's most celebrated" and the "epicenter" of Palm Beach's social scene.
       Initial membership goes for $200,000 - a fee that doubled after Trump's inauguration - plus
       annual dues. The club routinely hosts weddings and galas, and the president will sometimes go to
       Mar-a-Lago for the weekend, especially during winter.

       In both years prior to Charlottesville, Mar-a-Lago hosted 33 events, according to the Herald's
       analysis of the Palm Beach Daily News ' social events calendar . It dropped to 10 events in the
       season after Charlottesville.

       When the usual white-gloved crowd of Palm Beach society abandoned Mar-a-Lago, those groups
       that sprung into the vacuum included the Young Adventurers, a charity whose spokesperson had
       been Dan Haggerty, the star ofa little-remembered film and television show titled "Grizzly
       Adams," and a newly fo rmed female fan club called the Trumpettes.




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     Yang's acumen fo r ticket sa les to these events ensured that she and her guests would continue to
                                                                                                                                                                           J     BUY MORE, SAV E MORE
     have access to a club struggling to fill seats - access Yang turned into a Florida-based business, GY
     US Investments, marketed to clients overseas.                                                                                                                      Purchase 4 Windows, Save 20%
                                                                                                                                                                        Purchase 6 Windows, Save 25%
     Mar-a-Lago became a top destination for Trump                                                                                                                      Purchase 8 Windows, Save 30%
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     Selling access to private e•;ents is not new, and
     foreign nationals are not barred from giving
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     contributions to private foundations or                                                                     ~ IL11
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     and Mar-a-Lago in particular provides
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     unprecedented levels ofaccess.                                                                                       ti.gl'l-endintern.tlcnalandolharlndus.try
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     "What's different here is that the president and                                                ocr. c:ountnn and r9V'l)l'll
     his family have a direct financial interest in
     putting on these events," said }effrey Prescott, a                   Atranslaticn of an event promoted on Yang's GY US
                                                                          lnvestmcn-s website advertised a forum for intcrnationill
     former National Security Council aide in the
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     Obama administration and a senior fellow at the                      date as the previously scheduled Safari Night 2019 That
     Penn Biden Center. "There's a personal fina ncial                    ?019 event was recently canceled.
     interest we've never seen before. "

     Complicating security efforts at Mar-a-Lago is the potential tension between counter-intelligence
     concerns and Mar-a-Lago's need to make a profit, Prescott said.

     Through his private estate, the president has profited from Yang's many guests, who attended
     Mar-a-Lago events that charged hundreds, and sometimes thousands, of dollars for tickets. Part of
     the proceeds would go to charity, but a portion would always end up back with the Trump
     Organization that rented out the venue.

     The delicate balance between the president's public duties aud private businesses have sparked
     legal disputes. A federal lawsuit from the attorneys general o1Washington, D.C., and Maryland
     has challenged whether Trump's hotels violate the emoluments clause of the U.S. Constitution,
     which prevents officeholders from accepting gifts from foreign governments.




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  call"d Y u1·g A'h~nt1irPr< becam~ one ot th<• top events of the season After Safari Night, Mar a Lago becamPa top
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    A spokeswoman said Yang was out of town and unavailable for an interview. Yang's attorney, Evan
    Turk, declined to answer questions for this story but provided the fo llowing statement: "Our client
    has been a dedicated community volunteer to various charities, especially those benefiting
    children. In the political arena, she has been a committed volunteer. She developed friendships
    with people she has met within this community. As a result, many extreme assumptions have been
    made which [do] not reflect our client's character. Our firm will not address assumptions that
    could only lead to wrong conclusions."

    The Trump Organizarion did not respond to a request for comment.


    Access for sale at Mar-a-Lago

    In Yang's new world of selling access to the Trump family any Mar-a -Lago event would do, not
    only ones that would benefit his 2020 campaign for reelection.

    She pitched a pro- Israel event - planned last minute by a local activist - as an opportunity to meet
    top American politicians. A Mar-a-Lago New Year's party became an invite to an exclusive dinner
    with the president 's family. A fundraiser for orphaned babies by a Virginia-based Christian group
    became a chance to meet the president, according to her company website.

    On her website, which was ta ken down after initial reporting, Yang said she invites "elites from
    various places, including Chinese elite in the U.S., Taiwan, Hong Kong, Macau, Australia, Europe
    and other countries and regions ." One online advertisement for a planned 2019 event listed
    different levels of sponsorship; the top two with the most perks, Diamond Title Sponsor and Gold
    Sponsor, were reserved for foreigners only.

    Yang's ads caught the eye of Dr. Charles Lee, an event bundler and seller of access to Chinese
    clients looking for face time with major politicians.

    Lee bundled Yang's 2018 Safari Night invitation into an all inclusive eight-day "business travel
    diplomacy package" that for $13,000 would take guests from Beijing to visit the United Nations,
    U.S . Congress, and finish at Trump's South Florida residence. He brought three more Chinese
    businessmen to the pro-Israel event.

    Jon Deng, who knew Yang through Florida's small but growing Asian-American Republican
    community, said it was common knowledge that Mar-a-Lago events are packaged and advertised
    online in China.

    "It's sort of a known fact that there are buyers, and there are sellers," he said.




     How access to Tru111p is sold online
     The Miami Herald found that tickets to Mar-a-Lago elite fundraisers are
     advertised on Chinese social media as opportunities for foreign business




          .,•
     executives to have face time and a photo with President Donald Trump .



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           Seller                     B er                        Client                 Photo with Trum
       Is invited to              Bundles the              Buys the package              Is taken at event
    political or social         seller's event              hoping to build                promoted by
        event that                as part of a               international                seller and used
      the president                multi-day               connections and               by client as proof
       or his family               itinerary                  elevate own                  of high-level
     will attend, then           marketed to               status. Packages                   political
     sells access via          clients in China.              can sell for                  connections.
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    In the 14 months after they were pictured together at Safari Night 2018, Lee would recruit clie nts
    for five more events advertised by Yang as opportunities to pay for face time with Donald Trump.

    Together Yang and Lee brought more than 20 guests to Mar-a-Lago in 2018, according to their
    posts on WeChat, the Chinese equivalent ofFacebook.

    According to his website, Lee's honored guests included an executive of a line of beauty products
    who settled for a photo with future Florida Gov. Ron DeSantis after Trump did not attend the pro-
    Israel event and a Chinese actress, Sun Ye, who The New York Times first reported took a picture
    with both adult Trump sons on New Year's Eve. She said she was staying with Yang at the time.




    Yang and Lee also promoted access to a March    2018   fundraiser for Trump's reelection campaign,
    an event only citizens and green card holders could legally pay to attend. On the list of attendees                         /
    was the ownerof a chain of preschools in China who also served in the lower body of the Chinese
    legislature.

    Yang has maintained that she has no allegiance to the Chinese government. But Lee's travel
    packages were explicitly intended to promote Chinese President Xi Jinping's 2015 business
    diplomacy agenda. The initiative included pushing Chinese business owners to promote China's
    Communist Party through their connections abroad, according to Lee's website. The website was
    taken down after Lee spoke with a Herald reporter.

    Lee, who sometimes calls himself Prince Charles, is the founder of United Nations Chinese
    Friendship Association, which gives out "U.S.-China Ambassador" awards to clients who attend
    Trump events. Despite the name of the organization, no such group is listed as affiliated with the
    United Nations . On his website, Lee also claimed that two prominent Asian-American members of
    Congress, Reps. Grace Meng, D-N.Y., and Judy Chu, D-Calif., served as members of the group's
    advisory board. Their staffs told the Miam i Herald that was not true and said they would ask Lee to
    remove their names.

    In a brief conversation with a reporter, Lee denied knowing Yang.



    A cottage industry ofinfluence peddling




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     Presidential tourism has historically involved the homes or estates of dead presidents. But living,
    breathing sightseeing - like what is on offer at Mar-a-Lago - seems to be a new phenomenon,
    said June Teufel Dreyer, a professor of political science and China expert at the University of
    Miami.

    "This is the first time I've heard of sitting presidents and their homes being put on tour," Teufel
    Dreyer said. " I think it's definitely new for China. I don't think this was done for Ronald Reagan or
    even somebody who was very nice to the Chinese like Barack Obama."

    Yang and Lee are not alone in their efforts to
    capitalize on their access to the Trump family.            ;,rn '13: ,,,.:tr.'.J;i ·.tntl".:: ,)·'; 1~;, ~· ~il ~h.1' ! i:i l 1'<J "\:;o1 [~. 1!~l!' t 1 .., ~ ·,~vo. ,'l.'1:-t
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    According to a Herald analysis of Chinese social
    media anci classified advertisements, at least five
    other groi.:ps are marketing Trump-related tours
    to Chinese elites.


    "This may be the highest-leve l invitation you'll
    receive at this stage in your life," one Chinese-
   language ad declared. Though most ads
   promoted events at Mar-a-Lago, a few marketed
    access through political fun draisers with Trurr•p
    across the country.

   Almost all groups promised photos with the
   president - though with official photos selling
   for $so,ooo, the lower priced tours seem to be
   betting on proximity and the chance to snap an
   informal selfie.

   On the highest end, an online investment bank
   advertised $120,000 trips that induded a stop to
   meet Trump. It promised travelers a refund if
   they did not get a photo with the president. The
   Trump events advertised by this group were
   political fundraisers fo r Trump's reelection
   campaign, which would prohibit foreign
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   nationals from paying for the photos.                  Salai-i Nighl as parl of £1U 5. tour pacl<age including a visi •
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   The motivation for Chinese business people to          ad vvas: marketed on his website fo1· the Uni ted l\lalions
   seek photographs with American leaders comes           Chi11cs2 i:i-ie:ndship P.ssociGtion prior '.) U1e '" ebsit2 IJei11~                           1




   down to self-promotion, said Teufel Dreyer. The        iak.sn cJ01·m
   photos are currency in future business
   transactions .

   "They can take it back to China and use it to tell potential investors: 'Look how well-connected I
   am. Don't you want to put your money with me? I have friends in such high places.'"

   Officials with the Chinese Communist Party also use photos with prominent people as a means of
   deterring threats to the party and reinforcing its strength, said Peter Mattis, a visiting fellow at the
   Australian Strategic Policy Institute. The photos can be used to imply an allegiance between the
   Chinese Communist Party and other world powers.




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  Cinc!y Yang (c e ~~ler leit) poses outsid2 McH· a· Lago on Jan 26, 20·1s, with Safad Night O(ganizer Terr} Bomar {le1:t). Elizab1;- ti1




        While most people who get within arm 's length of the president are subjected to a Secret Service
     background check and screening, Mar-a-Lago offers a unique level of intimate access to Trump-
     sornething foreign governments have likely noticed, national security ~xperts say.

     "The president of the United States is literally the world's number one intelligence target. If you
     can get close to him for a small fee, I'm sure our adversaries would like to take advantage of that,"
    said David Kris, an assistant attorney general for national security in the Obama administration
    and founder of the consulting firm Culper Partners.

    Congressional Democrats have ca lled for an investigation into Yang'> activities, including the
    possibility that she was acting as a conduit for foreign money into Trump's reelection campaign.

    With so much scrutiny on Yang, the access channel at Mar-a-Lago appears closed, at least
    temporarily. According to the Palm Beach Post, Yang was dis1nvited to a Lincoln Day dinner
    hosted by the Palm Beach County GOP after articles about her activities were published by the
    Herald and other news outlets. And this year's Safari Night - originally slated for Saturday March
    30 - was canceled, said Terry Bo'!lar, a pastor and friend of Trump Grau who runs the Young
    Adventurers charity behind the event.

    That means a school in Kenya the nonprofit supports won't be getting a new van or building this
    year.

    "That's who's getting hurt," Bomar said.


    Miami Herald researcher Monika Leal and Miami Herald writers Selina Cheng and Keenan Chen
    conttibuted to this report.

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              ;key covers local government in municipalities across Miami-Dade County. She holds a master"s degree
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